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STATE OF RHODE ISLAND

Supreme Court Noel Judicial Complex
Disciplinary Board 222 Quaker Lane — Room 1083
Warwick, Rhode Island 02886
(401) 823-5710
Fax: (401) 822-6071
disc@courts.ri.gov

June 19, 2023

USS. District & Bankruptcy Courts for the District of Columbia
Attn: Attorney Admissions

333 Constitution Avenue NW, Room 1225

Washington, DC 20001

Re: Letter of Disciplinary History — Roger Roots, Esquire
To whom it may concern:

Please be advised that Roger Roots, Esquire is a member of the Rhode Island Bar and has
no history of discipline for professional misconduct. There have been no charges filed against
Attorney Roots and there are no complaints pending. I trust this information will be of
assistance to you.

Very truly yours,
And! [lave

Kerry Reilley Travers

Deputy Disciplinary Counsel

KRT:lmn
